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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 6RXWKHUQDistrict of 7H[DV

 Case number (If known): _________________________ Chapter                                                                       Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                         Delta Directional Drilling, LLC
                                           ______________________________________________________________________________________________________




 2.   All other names debtor used           Delta Directional, LLC; Delta; Delta Directional Drilling, LLC; Delta Directional
                                           ______________________________________________________________________________________________________B
      in the last 8 years                  __BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           __BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Include any assumed names,
      trade names, and doing business      __BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      as names




 3.   Debtor’s federal Employer             XX-XXXXXXX
      Identification Number (EIN)          ______________________________________




 4.   Debtor’s address                     Principal place of business                                   Mailing address, if different from principal place
                                                                                                         of business
                                           9027            Eastside Drive                                 1800        Hughes Landing Blvd.
                                           ______________________________________________                _______________________________________________
                                           Number     Street                                             Number     Street

                                                                                                          Suite 500
                                           ______________________________________________                _______________________________________________
                                                                                                         P.O. Box
                                           Newton                            MS         39345             The Woodlands               TX         77380
                                           ______________________________________________                _______________________________________________
                                           City                        State    ZIP Code                 City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                           Newton
                                           ______________________________________________
                                           Count\                                                        _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)               https://www.deltadirectional.com/
                                           ____________________________________________________________________________________________________




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Debtor         Delta Directional Drilling, LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              2131
                                             ____________________________________

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases           No
       filed by or against the debtor
       within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases               No
       pending or being filed by a
       business partner or an                Yes. Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have           No
       possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                       Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




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                Delta Directional Drilling, LLC
Debtor                                                                                                 Case number(A'known).!.--------------
                Name




 13. Debtor's estimation of                    Check one:
     available funds                           Iii Funds will be available for distribution to unsecured creditors.
                                               CJ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                               CJ 1-49                              Iii   1,000-5,000                          CJ 25,001-50,000
 14. Estimated number of                       CJ 50-99                             CJ    5,001-10,000                         CJ 50,001-100,000
     creditors*
                                               CJ 100-199                           CJ    10,001-25,000                        Cl More than 100,000
                                               CJ 200-999

                                               CJ $0-$50,000                        Cl $1,000,001-$10 million                  D $500,000,001-$1 billion
 1s. Estimated assets*                         CJ $50,001-$100,000                  D $10,000,001-$50 million                  CJ $1,000,000,001-$10 billion
                                               CJ $100,001-$500,000                 Cl $50,000,001-$100 million                CJ $10,000,000,001-$50 billion
                                               CJ $500,001-$1 million               Iii $100,000,001-$500 million              CJ More than $50 billion
                                                                                          ---------------------·----------------
                                               CJ $0-$50,000                        Cl    $1,000,001-$10 million               CJ $500,000,001-$1 billion
 1s. Estimated llabllltles *                   CJ $50,001-$100,000                  Cl    $10,000,001-$50 million              CJ $1,000,000,001-$10 billion
                                               CJ $100,001-$500,000                 CJ    $50,000,001-$100 million             CJ $10,000,000,001-$50 billion
                                               CJ $500,001-$1 million               Iii   $100,000,001-$500 million            CJ More than $50 billion



               Request for Relief, Declaration, and Signatures


 WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 11. Declaration and signature of                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                                    petition.
     debtor

                                                    I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true and
                                                    correct.


                                               I declare under penalty of perjury that the foregoing is true and correct.




                                                               s:::. 6.--
                                                    Executed on    12/06/2021


                                               J(/�                                                              Sean Gore
                                                    Slgnature cf authorized representative of debtor            Printed name
                                                            Chief Financial Officer
                                                    Title

   --------------------·-----·�-- -----··------�---�-------•c• -----�--·---A-- �--� -----�-· �-----·-··-�·---�-·---------------------------

         * Represents consolidated financial information for Delta Directional Drilling, LLC and its affiliated debtors as set forth in Schedule A.
         This does not constitute a statement or admission as to the creditors, assets or liabilities of any of the debtor entities individually.




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Debtor        _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                            _____________________________________________            Date       _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                           _________________________________________________________________________________________________
                                           Printed name

                                           _________________________________________________________________________________________________
                                           Firm name

                                           _________________________________________________________________________________________________
                                           Number     Street

                                           ____________________________________________________            ____________ ______________________________
                                           City                                                            State        ZIP Code

                                           ____________________________________                            __________________________________________
                                           Contact phone                                                   Email address



                                           ______________________________________________________ ____________
                                           Bar number                                             State




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                                          Schedule A
                                  SCHEDULE OF DEBTORS

On the date hereof, each of the affiliated entities listed below (including the debtor in this chapter
11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101 et seq., as amended. Substantially contemporaneously with the filing of
these petitions, these entities filed a motion requesting that their respective chapter 11 cases be
jointly administered for procedural purposes only.

                                                   EMPLOYER/CORPORATE
                        DEBTOR                         IDENTIFICATION             J URIS DICTION
                                                          NUMBER
 1.     Strike, LLC                                XX-XXXXXXX                   United   States
 2.     Strike HoldCo, LLC                         XX-XXXXXXX                   United   States
 3.     Delta Directional Drilling, LLC            XX-XXXXXXX                   United   States
 4.     Strike Global Holdings, LLC                XX-XXXXXXX                   United   States
 5.     Capstone Infrastructure Services, LLC      XX-XXXXXXX                   United   States
 6.     Crossfire, LLC                             XX-XXXXXXX                   United   States
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                           DELTA DIRECTIONAL DRILLING, LLC
                            __________________________________________
                                        WRITTEN CONSENT
                                               OF
                                        THE SOLE MEMBER
                                       Dated December 6, 2021
                            __________________________________________
               The UNDERSIGNED, being the sole member (the “Sole Member”) of Delta
Directional Drilling, LLC, a Texas limited liability company (the “Company”), acting in
accordance with the Texas Business Organization Code, hereby consents in writing to approve the
adoption of the following resolutions, effective as of the date first set forth above:
                WHEREAS, the Board of Managers of Strike Investment LLC, including the
restructuring committee of such Board (the “Restructuring Committee”) comprised of
independent managers, has considered presentations by the management of, and the outside
advisors to, the Company regarding the liabilities and liquidity situation of the Company, the
strategic alternatives available to it, and the effect of the foregoing on the Company’s business,
creditors, and other parties in interest;
               WHEREAS, the Sole Member, through the Restructuring Committee, has also had
the opportunity to consult with the Company’s management and outside advisors, and to fully
consider the restructuring negotiations with the Company’s creditors and other parties in interest;
                WHEREAS, based on its review of all available alternatives and advice provided
by such outside advisors, the Sole Member, through the approval of the Restructuring Committee,
has determined that it is in the best interest of the Company, its affiliates, their respective creditors,
and other parties in interest, for the Company and its affiliates to take the actions specified in the
resolutions set forth below;
         Chapter 11 Case
               WHEREAS, the Sole Member has been presented with a proposed petition to be
filed by the Company in the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”) seeking relief under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”);
                WHEREAS, the Sole Member, through the approval of the Restructuring
Committee, having considered the financial and operational aspects of the Company’s business
and the best course of action to maximize value, deems it advisable and in the best interest of the
Company, its creditors, and other parties in interest that a petition be filed by the Company seeking
relief under the provisions of chapter 11 of the Bankruptcy Code and implement a restructuring of
the Company;




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         Debtor-in-Possession Financing
               WHEREAS, the Sole Member intends to execute that certain Senior Secured Super-
Priority Debtor-in-Possession Loan and Security Agreement, dated as of the date hereof (as may
be further amended, restated, amended and restated, supplemented, or otherwise modified from
time to time, the “DIP Credit Agreement”), by and among Strike HoldCo LLC and the Sole
Member, as borrowers, each person party thereto from time to time as a lender, the issuing banks
party thereto from time to time, and Lightship Capital II LLC, as administrative agent for the
lenders;
               WHEREAS, pursuant to the proposed DIP Credit Agreement, the Sole Member
may enter into certain other loan documents referred to in the DIP Credit Agreement (the “DIP
Loan Documents”);
                 WHEREAS, the Sole Member, through the Restructuring Committee, has reviewed
substantially final versions of the DIP Credit Agreement and the DIP Loan Documents and after
careful review and consideration, the Sole Member, through the approval of the Restructuring
Committee, has determined that it is in the best interest of the Company to enter into the DIP Credit
Agreement and the Company believes that it is advisable and in pursuit of its purposes as an
integral part of the business conducted and proposed to be conducted by the Company to enter into
such documents, consummate such transactions and perform its obligations under the DIP Loan
Documents, in each case, as more fully set forth therein;
               WHEREAS, it is a condition precedent to the effectiveness of and the extensions
of credit under the DIP Credit Agreement that the Company execute and deliver, among other
things, the DIP Loan Documents and the other agreements, documents, notes, instruments and
certificates contemplated thereby (collectively, together with the DIP Loan Documents, the
“Transaction Documents”, the entry into the Transaction Documents is referred to herein as the
“Transaction”);
               WHEREAS, the Sole Member, through the approval of the Restructuring
Committee, has determined that the Company will receive direct and indirect benefits from the
transactions contemplated by the DIP Credit Agreement and the other Transaction Documents;
                 WHEREAS, the Sole Member, through the approval of the Restructuring
Committee, has deemed it advisable and in the best interests of the Company that the Company
enter into, execute, deliver and perform its obligations under each of the Transaction Documents
to which it is a party, enter into the transactions contemplated thereby and guarantee the obligations
under the Transaction Documents;
           Key Employee Retention Plan
                WHEREAS, in order to retain certain of the key client facing field employees of
certain of the Company’s affiliates (collectively, the “Company Entities”) during the chapter 11
cases of the Company Entities, the Company Entities have developed a Key Employee Retention
Plan (the “KERP”) with the assistance of Korn Ferry, Opportune LLP, and White & Case LLP,
the advisors in the Company Entities’ compensation, evaluation and restructuring efforts,
respectively;



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                WHEREAS, after due and careful consideration of the terms and conditions set
forth therein, the Sole Member, through the approval of the Restructuring Committee, believes it
is advisable and in the best interests of the Company Entities to approve the KERP, which provides
for estimated aggregate awards with a target value of approximately $815,000, to be paid in
two phases, subject to the approval of the KERP by the Bankruptcy Court and to any
adjustments approved by the Restructuring Committee in response to comments from the Bankruptcy
Court or the Company Entities’ creditors or other parties in interest. The KERP will be important
to the Company Entities’ business and restructuring efforts;

               WHEREAS, the awards for each component of the KERP shall be made pursuant
to the terms set forth in the award letters for each phase with respect to each participant, after
approval of the Bankruptcy Court as determined by the Restructuring Committee.

         NOW, THEREFORE, BE IT
                RESOLVED, that in the judgment of the Sole Member, through the approval of the
Restructuring Committee, it is desirable and in the best interests of the Company, its subsidiaries,
their respective equityholders, creditors, and other interested parties, that a voluntary petition be
filed by the Company seeking relief under the provisions of chapter 11 of the Bankruptcy Code,
and the filing of such petition is authorized and directed hereby; and it is further
               RESOLVED, that the Company’s officers and the members of the Restructuring
Committee (each, an “Authorized Person”) be, and each hereby is, authorized and directed, on
behalf of and in the name of the Company, to execute and verify a petition in the name of the
Company under chapter 11 of the Bankruptcy Code and to cause the same to be filed in the
Bankruptcy Court in such form and at such time as the Authorized Person(s) executing said petition
on behalf of the Company shall determine; and it is further
         Retention of Professionals
                RESOLVED, that the Company is authorized, and each Authorized Person be, and
each hereby is, authorized and directed, on behalf of and in the name of the Company, to retain
and employ professionals to render services to the Company in connection with the chapter 11
cases and the transactions contemplated by the foregoing resolutions, including, without limitation:
the law firms White & Case LLP and Jackson Walker LLP to act as restructuring counsel;
Opportune Partners LLC to act as its investment banker; Opportune Partners LLP to act as its
financial advisor; and Epiq Corporate Restructuring, LLC as its claims and noticing agent; and in
connection herewith, each Authorized Person is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed appropriate
applications for authority to retain the services of the foregoing; and it is further
               RESOLVED, that each Authorized Person be, and each hereby is, authorized and
empowered and directed, on behalf of and in the name of the Company, to incur and pay or cause
to be paid all such fees and expenses as in their judgment shall be necessary, appropriate, or
advisable to effectuate the purpose and intent of any and all of the foregoing resolutions; and it is
further




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         Debtor-in-Possession Financing
                RESOLVED, that the form, terms, and provisions of the Transaction Documents
(including all exhibits and schedules thereto) be, and hereby are, in all respects approved, adopted,
authorized, ratified and confirmed; and it is further
              RESOLVED, that any capitalized terms used but not defined herein shall have the
meanings ascribed to such term in the DIP Credit Agreement; and it is further
                 RESOLVED, that each Authorized Person be, and each of them hereby is
authorized and empowered and directed to (i) execute the Transaction Documents on behalf of the
Company with all changes thereto and supplements, modifications and amendments thereof
approved by, and any other documents or certificates required to be delivered by it or any
Authorized Signatory pursuant thereto, and (ii) cause the Company to perform its obligations under
the Transaction Documents and take any and all other actions that may be necessary or desirable
in order to satisfy or perform any and all of the Company’s obligations thereunder, to consummate
the transactions contemplated therein, and otherwise carry out the intent or purposes of these
resolutions; and it is further
         Key Employee Retention Program
                 RESOLVED, that the Sole Member, through the approval of the Restructuring
Committee, authorizes the Company Entities to enter into the KERP; subject to the approval of the
KERP by the Bankruptcy Court and to any adjustments approved by the Restructuring Committee
in response to comments from the Bankruptcy Court or the Company Entities’ creditors or other
parties in interest; and it is further
               RESOLVED, that the awards for each component of the KERP shall be made
pursuant to the terms set forth in the award letters for each phase with respect to each participant,
after approval of the Bankruptcy Court as determined by the Restructuring Committee; and it is
further
         General Authority to Implement Resolutions
                 RESOLVED, that each Authorized Person be, and each hereby is, authorized and
empowered, on behalf of and in the name of the Company, to execute, deliver, perform, verify,
and/or file, or cause to be executed, delivered, performed, verified, and/or filed (or direct others to
do so on their behalf as provided herein) all necessary documents, including, without limitation ,
all petitions, affidavits, statements, schedules, motions, lists, applications, pleadings, contracts,
agreements, other papers, additional security documents, guarantees, reaffirmations, control
agreements, waivers of or amendments to existing documents, and to negotiate, or cause or
authorize to be negotiated, the forms, terms, and provisions of, and to execute and deliver, or cause
or authorize to be executed and delivered, any amendments, modifications, waivers, or consent to
any of the foregoing as may be approved by any Authorized Person, which amendments,
modifications, waivers, or consents may provide for consent payments, fees, or other amounts
payable or other modifications of or relief under such agreements or documents, the purpose of
such amendments, modifications, waivers, or consents being to facilitate consummation of the
transactions contemplated by the foregoing resolutions, and, in connection with the foregoing, to
employ and retain all assistance by legal counsel, investment bankers, accountants, restructuring


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professionals, or other professionals, and to take any and all other action in furtherance of the
foregoing resolutions which such Authorized Person deems necessary or proper in connection with
the chapter 11 cases, including any and all action necessary or proper in connection with obtaining
authorization to use cash collateral and debtor-in-possession financing, with a view to the
successful prosecution of the chapter 11 cases contemplated by the foregoing resolutions and the
successful consummation of the transactions contemplated by the foregoing resolutions including ,
without limitation, any action necessary or proper to maintain the ordinary-course operation of the
Company’s business; and it is further
               RESOLVED, that each Authorized Person be, and each hereby is, authorized to
execute, deliver, and perform any and all special powers of attorney as such Authorized Person
may deem necessary or desirable to facilitate consummation of the transactions contemplated by
the foregoing resolutions, pursuant to which such Authorized Person will make certain
appointments of attorneys to facilitate consummation of the transactions contemplated by the
foregoing resolutions as the Company’s true and lawful attorneys and authorize each such attorney
to execute and deliver any and all documents of whatsoever nature and description that may be
necessary or desirable to facilitate consummation of the transactions contemplated by the
foregoing resolutions; and it is further
                RESOLVED, that each Authorized Person be, and each hereby is, authorized and
empowered to do and perform, or cause or authorize to be done and performed, in accordance with
these resolutions any and all such other acts, deeds and things and to make, execute and deliver,
or cause to be made, executed and delivered, in the name and on behalf of the Company, as may
be necessary or proper, any and all such agreements, undertakings, documents, consents, filings or
instruments, with such terms and provisions as any such Authorized Person may approve, as such
Authorized Person may deem necessary or proper to carry out the purpose and intent of the
foregoing resolutions, the execution, delivery or performance thereof, or the taking of any such
action to be conclusive evidence of such approval and authority; and it is further
               RESOLVED, that each Authorized Person be, and each hereby is, authorized and
empowered to act without the joinder of any other Authorized Person in connection with the
foregoing resolutions; and it is further
                 RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Person to seek relief on behalf of the Company under chapter 11 of the Bankruptcy
Code, or in connection with the chapter 11 cases, or any matter related thereto, be, and hereby are,
adopted, ratified, confirmed, and approved in all respects as the acts and deeds of the Company,
having the same force as if performed pursuant to the direct authorization of the Sole Member;
and it is further
                RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Person, or by any employees or agents of the Company, on or before the date hereof
in connection with the subject matter of the foregoing resolutions be, and they hereby are, ratified,
confirmed, and approved in all respects as the acts and deeds of the Company, having the same
force as if performed pursuant to the direct authorization of the Sole Member; and it is further
              RESOLVED, that the omission from these resolutions of any agreement, document,
or other arrangement contemplated by any of the agreements, instruments, filings, or other
documents described in the foregoing resolutions or any action to be taken in accordance with any

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requirement of any of the agreements, instruments, filings, or other documents described in the
foregoing resolutions shall in no manner derogate from the authority of the Authorized Person to
take all actions necessary, desirable, proper, advisable, or appropriate to consummate, effectuate,
carry out, or further the transaction contemplated by, and the intent and purposes of, the foregoing
resolutions; and it is further
               RESOLVED, that the authority conferred upon any Authorized Person of the
Company by this Written Consent is in addition to, and shall in no way limit, such other authority
as such Authorized Person may have with respect to the subject matter of the foregoing resolutions,
and that the omission from this Written Consent of any agreement or other arrangement
contemplated by any of the agreements, contracts, instruments, or documents described in the
foregoing resolutions or any action to be taken in accordance with any requirement of any of the
agreements, instruments, or documents described in the foregoing resolutions shall in no manner
derogate from the authority of any such Authorized Person to take any and all actions convenient,
necessary, advisable, or appropriate to consummate, effectuate, carry out, perform, or further the
transactions contemplated by and the intents and purposes of the foregoing resolutions; and it is
further
                 RESOLVED, that each of the Authorized Persons be, and each hereby is,
authorized and empowered to take all actions, or cause to be taken all actions, in the name of the
Company with respect to the transactions contemplated by these resolutions as the shareholder,
partner, member, manager (or similar role) of each subsidiary of the Company, in each case, as
such Authorized Person shall deem necessary, proper, appropriate, desirable, or advisable to
effectuate the purposes of the foregoing resolutions, including authorizing and causing such
subsidiaries to provide guaranties and grant liens in respect of any potential financing transactions
that, in the judgement of such Authorized Person, become necessary to successfully prosecute the
chapter 11 cases; and it is further
                RESOLVED, that any person dealing with the Authorized Persons authorized by
the foregoing resolutions in connection with any of the foregoing matters shall be conclusively
entitled to rely upon the authority of the Authorized Person including by their execution in the
name or on behalf of the Company, of any document, agreement or instrument, the same being a
valid and binding obligation of the Company enforceable in accordance with its terms.
                                                ***
                                    [Signature Page Follows]




 AMERICAS 108924025                              6
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS


In re                                                     Chapter 11

DELTA DIRECTIONAL DRILLING, LLC,                          Case No. 21-[____] ( )

                                                          (Joint Administration Requested)
                                   Debtor.


              COMBINED CORPORATE OWNERSHIP STATEMENT AND
                   LIST OF EQUITY SECURITY HOLDERS OF
                    DELTA DIRECTIONAL DRILLING, LLC

Pursuant to Rule 1007 of the Federal Rules of Bankruptcy Procedure, the above captioned debtor
and debtor in possession (the “Debtor”), a Texas Limited Liability Company, hereby
respectfully represents that the following is the list of holders of the Debtor’s sole class of equity
or membership interests:

                                                                                       Shares
              Name                                    Address                         (Percent)
                                             1800 Hughes Landing Blvd.
            Strike, LLC                              Suite 500                           100%
                                             The Woodlands, TX 77380
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      Fill in this information to Identify the case:

      Debtor Name: Delta Directional Drilling, LLC
                                                                                                                                              Check if this is an
      United States Bankruptcy Court for the:          Southern District of Texas                                                             amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if        Deduction for      Unsecured claim
                                                                                                                    partially secured      value of
                                                                                                                                           collateral or
                                                                                                                                           setoff

  1       MEARS GROUP INC.                     CONTACT: STEVE GUDE            LITIGATION                CUD                                                       $4,100,000.00
          1622 EASTPORT PLAZA DRIVE            PHONE: 618-343-6400
          COLLINSVILLE, IL 62234               AR.MEARS@MEARS.NET
  2       EAGLE CAPITAL CORPORATION            PHONE: 662-214-9818            LITIGATION                CUD                                                       $3,466,068.00
          PO BOX 4215                          ACCOUNTING@EAGLECAPIT
          TUPELO, MS 38803                     ALCORP.COM
  3       UNITED RENTALS INC                   CONTACT: BRANDON               EQUIPMENT                 CUD                                                       $1,707,971.42
          PO BOX 840514                        LANDRENEAU                     RENTAL
          DALLAS, TX 75284-0514                PHONE: 325-895-8729
                                               ACH@UR.COM;
                                               CTENDLER@UR.COM
  4       ARDENT SERVICES LLC                  CONTACT: JENNIFER              TRADE                     CUD                                                       $1,590,164.65
          PO BOX 974759                        BURCHFIELD
          DALLAS, TX 75397-4759                PHONE: 985-792-3000
                                               ARNOTES@ARDENT.US
  5       MICHELS CORPORATION                  CONTACT: AUBRIE CONRAD         DRILLING WORK             CUD                                                       $1,588,450.00
          PO BOX 95                            PHONE: 920-583-3132
          BROWNSVILLE, WI 53006                ACONRAD@MICHELS.US
  6       DAKOTA LINE CONTRACTORS INC          PHONE: 701-224-8654            CONV ROAD                 CUD                                                       $1,350,792.00
          2729 PAINTBALL WAY                   LWHITE@DLCND.COM               BORING
          BISMARCK, ND 58504
  7       DELTA FUEL COMPANY                   CONTACT: CHRISTINA     FUEL                              CUD                                                       $1,139,489.94
          P.O. BOX 1810                        ROBERTS
          FERRIDAY, LA 71334                   PHONE: 318-757-3975
                                               ACHPAYMENTS@DELTAFUEL.
                                               COM




Official Form 204        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                          Page 1
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  Debtor: Delta Directional Drilling, LLC                                                    Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction for      Unsecured claim
                                                                                                           partially secured      value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  8     SUMMIT ELECTRIC SUPPLY CO INC      CONTACT: SHAUNA         OPERATIONS                  CUD                                                       $1,139,391.04
        PO BOX 7280                        MARTINEZ                SUPPLIER
        DALLAS, TX 75284-8345              PHONE: 505-389-1733 EXT
                                           1233
                                           CASHAPPLICATIONS@SUMM
                                           IT.COM
  9     JONES TRANSPORT                    CONTACT: JENNIFER         TRADE                     CUD                                                       $1,113,208.49
        6184 HWY 98 W, STE 210             HOUSTON
        HATTIESBURG, MS 39402              PHONE: 601-736-1151
                                           CHRISTI.BOUNDS@JONESLO
                                           GISTICS.COM
  10    BLACKWELL ENTERPRISES INC          CONTACT: BEN BRAKEFIELD   TRADE                     CUD                                                       $1,044,561.59
        14634 COTTON GIN AVE               PHONE: 405-449-7795
        WAYNE, OK 73095                    BBRAKEFIELD@BLACKWELLE
                                           NT.COM
  11    CROSS COUNTRY INFRASTRUCTURE       CONTACT: ADRIANNE         EQUIPMENT                 CUD                                                       $1,014,695.33
        SVCS USA                           BENNETT                   RENTAL
        PO BOX 843851                      PHONE: 303-361-6797
        KANSAS CITY, MO 64184-3851         ABENNETT@CCPIPELINE.CO
                                           M
  12    CAT FINANCIAL COMMERCIAL ACCT      CONTACT: ABBEY BIRKEY     EQUIPMENT                 CUD                                                         $934,912.13
        PO BOX 732005                      PHONE: 188-228-8811       RENTAL
        DALLAS, TX 75397-8595              ADSMITH@FOLEYEQ.COM
  13    HARDROCK DIRECTIONAL DRILLING      CONTACT: BOBBY HOOVER DRILLING WORK                 CUD                                                         $873,095.00
        PO BOX 33371                       PHONE: 210-403-2086
        SAN ANTONIO, TX 78265              BOBBY.HOOVER@HARDROCK
                                           HDD.COM
  14    GRAYBAR ELECTRIC CO INC            PHONE: 412-320-2594   OPERATIONS                    CUD                                                         $792,029.90
        900 RIDGE AVE                      CUSTOMERREMIT@GRAYBAR SUPPLIER
        PITTSBURGH, PA 15212               .COM
  15    PIPELINE SUPPLY & SERVICE          CONTACT: BRANDI WRIGHT TRADE                        CUD                                                         $731,615.79
        PO BOX 74321                       PHONE: 713-741-8125
        CLEVELAND, OH 44194-4321           AR@PSSCOMPANIES.COM;
                                           BRANDI.WRIGHT@PSSCOMP
                                           ANIES.COM
  16    BAYOU ELECTRICAL SERVICES          CONTACT: JORDAN DEVATY TRADE                        CUD                                                         $675,980.61
        8036 MILLER ROAD 2                 PHONE: 281-121-5200
        HOUSTON, TX 77049                  AR@BAYOUELECTRICAL.COM


  17    CBK TRANSPORT LLC                  CONTACT: BEN FLEMING   TRADE                        CUD                                                         $595,237.50
        28310 ASCOT FARMS ROAD             PHONE: 713-502-5185
        MAGNOLIA, TX 77354                 BEN.FLEMING@CBKTRANSPO
                                           RT.COM
  18    WHOLESALE ELECTRIC SUPPLY          PHONE: 281-479-6055       OPERATIONS                CUD                                                         $546,568.50
        PO BOX 732778                      ARREMIT@WHOLESALEELEC     SUPPLIER
        DALLAS, TX 75373-2778              TRIC.COM
  19    ALLWASTE INDUSTRIAL SVCS LLC       PHONE: 346-801-3116     HYDRO                       CUD                                                         $533,675.69
        PO BOX 1378                        AR@ALLWASTEINDUSTRIAL.C EXCAVATION
        MONT BELVIEU, TX 77580             OM
  20    J2 RESOURCES LLC                   PHONE: 713-401-3171       OPERATIONS                CUD                                                         $533,065.04
        945 MCKINNEY DR., 116              KDUGAN@J2RESOURCES.CO     SUPPLIER
        HOUSTON, TX 77002                  M




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 2
                         Case 21-90057 Document 1 Filed in TXSB on 12/06/21 Page 18 of 19
  Debtor: Delta Directional Drilling, LLC                                                    Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction for      Unsecured claim
                                                                                                           partially secured      value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  21    C.I. ACTUATION                     CONTACT: ASHLEY YOUNG     OPERATIONS                CUD                                                         $524,808.59
        PO BOX 842348                      PHONE: 281-209-3800       SUPPLIER
        DALLAS, TX 75284-2348              ASHLEY.YOUNG@CIACTUATI
                                           ON.COM
  22    VELOX LLC                          CONTACT: HARRY FOX     DRILLING WORK                CUD                                                         $506,970.88
        PO BOX 142                         PHONE: 256-217-4339
        RYLAND, AL 35767                   OFFICEADMIN@VELOXUC.CO
                                           M
  23    WHITCO SUPPLY LLC                  PHONE: 337-837-2440    OPERATIONS                   CUD                                                         $501,556.59
        200 N. MORGAN AVENUE               CAMILLE@WHITCOSUPPLY.C SUPPLIER
        BROUSSARD, LA 70518                OM
  24    AXIS INDUSTRIAL SERVICES LLC       PHONE: 361-888-4855       FABRICATION               CUD                                                         $501,376.00
        5110 IH 37                         DEDISON@AXISINDSVCS.CO
        CORPUS CHRISTI, TX 78407           M
  25    IGNITE ENERGY SERVICES             CONTACT: DEBORAH MICHEL HAULING - EQ                CUD                                                         $486,450.27
        PO BOX 2247                        PHONE: 318-505-3630
        FREDERICKSBURG, TX 78624           ACCOUNTING@IGNITEHYDR
                                           O.COM


  26    BC HENDERSON CONSTRUCTION INC CONTACT: MACEY MCKEE  DRILLING WORK                      CUD                                                         $484,768.35
        366 VZCR 3605                 PHONE: 903-896-4835
        EDGEWOOD, TX 75117            BRYAN@BCHCONSTRUCT.CO
                                      M
  27    ROCK-IT NATURAL STONE INC          CONTACT: LINDA LANE       HAULING - D/M             CUD                                                         $465,639.54
        PO BOX 410                         PHONE: 800-371-4219
        WISTER, OK 74966                   LINDA_LANE@ROCK-
                                           ITNATURALSTONE.COM
  28    MASON CONSTRUCTION LTD             CONTACT: BRITNI MILAM TRADE                         CUD                                                         $462,518.98
        PO BOX 20057                       PHONE: 409-842-4455
        BEAUMONT, TX 77720-0057            PAYMENTS@MASONCONSTR
                                           UCTION.NET
  29    STRATA INNOVATIVE SOLUTIONS        CONTACT: ASHLEY SCHULTZ   TRADE                     CUD                                                         $452,945.15
        12005 STARCREST DR                 PHONE: 210-714-2386
        SAN ANTONIO, TX 78247              ASHLEYSCHULTZ@STRATA-
                                           IS.COM
  30    BENNETT CONSTRUCTION, INC. AND     CONTACT: BRADLEY          LITIGATION                CUD                                                     UNDETERMINED
        NGM INSURANCE COMPANY              DAVENPORT
        210 PARK AVENUE SUITE 1200         PHONE: 405-898-8654
        OKLAHOMA CITY, OK 73102            BDAVENPORT@DSDA.COM




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